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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

KIMBERLEY A. LYONS,
INDIVIDUALLY, AS NEXT OF KIN,
AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE
OF CORA V. UNDERWOOD,
DECEASED,                                            Civil Action No.:
                                                     1:18-cv-04624-WMR
       Plaintiffs,
                                                     JURY TRIAL
V.’                                                  DEMANDED

BOEHRINGER INGELHEIM
PHARMACEUTICALS, INC.,
    Defendant.

          ORDER ON PLAINTIFFS’ MOTION TO COMPEL AND
          DEFENDANTS MOTION FOR PROTECTIVE ORDER

      The Court, having reviewed the Plaintiffs’ Motion to Compel [Doc. 36],

Defendant’s Response [Doc. 42], and Plaintiffs’ Reply [Doc. 46], as well as

Defendant’s Motion for Protective Order [Doc. 41], Plaintiffs’ Response [Doc. 47],

and Defendant’s Reply [Doc. 51], and having heard argument of the parties on

August 23, 2019, hereby grants in part and denies in part each motion.

      The Court GRANTS Plaintiffs’ Motion to Compel [Doc. 36] as to Request for

Production Nos. 1 and 3, and DENIES Plaintiffs’ Motion to Compel as to Request

for Production No. 13. Defendant shall provide to Plaintiffs full responses to

Request for Production Nos. 1 and 3 no later than September 6, 2019.



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      The Court DENIES Defendant’s Motion for Protective Order [Doc. 41] as to

Subject Matter Topic 1 and 3, and GRANTS Defendant’s Motion for Protective

Order as to Subject Matter No. 13. Defendant’s Rule 30(b)(6) witness shall appear

in Atlanta for the continuation of her August 16, 2019 deposition on October 3, 2019,

a date that has been mutually agreed upon by the parties.         Plaintiffs’ Expert

Disclosure date shall be moved to October 14, 2019, Defendant’s Expert Disclosure

Date shall be moved to November 11, 2019, and the date for Completion of Expert

Discovery shall be moved to December 18, 2019. All other deadlines shall remain

the same.

      SO ORDERED this 9th day of September, 2019.




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